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                                                                                                               JS-6
                                 1                              UNITED STATES DISTRICT COURT
                                 2                             CENTRAL DISTRICT OF CALIFORNIA

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                                 4
                                 5       Orlando Garcia,
                                 6                      Plaintiff,              Case No. 2:20-cv-08419-VAP-(JEMx)
                                 7                      v.
                                                                                             Judgment
                                 8       Guadalupe Alcocer et al.,
                                 9                      Defendants.
                                 10
Central District of California
United States District Court




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                                 12         TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
                                 13         Pursuant to the Findings of Fact and Conclusions of Law entered
                                 14   concurrently with this Judgment, IT IS ORDERED AND ADJUDGED that the
                                 15   action, Orlando Garcia v. Guadalupe Alcocer et al., 2:20-cv-08419-VAP-
                                 16   JEMx, is DISMISSED WITH PREJUDICE. The Court orders that such
                                 17   judgment be entered.
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                                 19   IT IS SO ORDERED.
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                                 21      Dated:     12/1/21
                                 22                                                    Virginia A. Phillips
                                                                                  United States District Judge
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